                               Case 3:24-bk-00496-BAJ             Doc 40-1         Filed 04/03/24        Page 1 of 1
Label Matrix for local noticing                      Genie Investments NV Inc.                            Bryan K. Mickler
113A-3                                               PO Box 60443                                         Attorney for the Debtor
Case 3:24-bk-00496-BAJ                               Jacksonville, FL 32236-0443                          5452 Arlington Expy.
Middle District of Florida                                                                                Jacksonville, FL 32211-6860
Jacksonville
Wed Apr 3 09:07:31 EDT 2024
Duval County Tax Collector                           Florida Dept. of Revenue                             Internal Revenue Service
231 Forsyth St. #130                                 Bankruptcy Unit                                      PO Box 7346
Jacksonville FL 32202-3380                           P.O. Box 6668                                        Philadelphia, PA 19101-7346
                                                     Tallahassee, FL 32314-6668


Secretary of the Treasury                            The Generations Group-DonStrickland -                U.S. Securities & Exchange Commission
15th & Pennsylvania Ave., NW                         14312 Zion Gate Xing                                 Office of Reorganization
Washington, DC 20220-0001                            Conroe, TX 77384-2516                                950 East Paces Ferry Road, N.E.
                                                                                                          Suite 900
                                                                                                          Atlanta, GA 30326-1382

United States Attorney                               Bryan K. Mickler +                                   United States Trustee - JAX 11 +
300 North Hogan St Suite 700                         Mickler & Mickler                                    Office of the United States Trustee
Jacksonville, FL 32202-4204                          5452 Arlington Expressway                            George C Young Federal Building
                                                     Jacksonville, FL 32211-6860                          400 West Washington Street, Suite 1100
                                                                                                          Orlando, FL 32801-2210

Scott E Bomkamp +                                    Jason A. Burgess +
DOJ-Ust                                              Jacksonville
United States Trustee                                300 North Hogan Street
400 W. Washington St.                                Room 4-213
Ste 1100                                             Jacksonville, FL 32202-4204
Orlando, FL 32801-2440



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name have filed a claim in this case
